    Case: 1:16-cv-00403 Document #: 26 Filed: 03/10/16 Page 1 of 3 PageID #:144



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


NAPLETON’S ARLINGTON HEIGHTS
MOTORS, INC. f/k/a NAPLETON’S
PALATINE MOTORS, INC. d/b/a
NAPLETON’S ARLINGTON HEIGHTS
CHRYSLER DODGE JEEP RAM, an
Illinois corporation; NAPLETON’S RIVER
OAKS MOTORS, INC. d/b/a NAPLETON’S
RIVER OAKS CHRYSLER DODGE JEEP
RAM, an Illinois corporation; CLERMONT
MOTORS, LLC d/b/a NAPLETON’S
CLERMONT CHRYSLER DODGE JEEP
RAM, an Illinois limited liability company;
NAPLETON’S NORTH PALM AUTO
PARK, INC. d/b/a NAPLETON’S
NORTHLAKE CHRYSLER DODGE JEEP
RAM, an Illinois corporation; NAPLETON
ENTERPRISES, LLC d/b/a NAPLETON’S
SOUTH ORLANDO CHRYSLER DODGE                  Case No. 1:16-cv-00403-VMK-SMF
JEEP RAM, an Illinois limited liability
company; NAPLETON’S MID RIVERS
MOTORS, INC. d/b/a NAPLETON’S MID
RIVERS CHRYSLER DODGE JEEP RAM,
an Illinois corporation; NAPLETON’S
ELLWOOD MOTORS, INC. d/b/a
NAPLETON’S ELLWOOD CHRYSLER
DODGE JEEP RAM, an Illinois corporation,

              Plaintiffs,

       v.

FCA US LLC, a Delaware corporation, and
FCA REALTY LLC, a Delaware limited
liability corporation, f/k/a CHRYSLER
GROUP REALTY COMPANY LLC,

              Defendants.
    Case: 1:16-cv-00403 Document #: 26 Filed: 03/10/16 Page 2 of 3 PageID #:145



                                   NOTICE OF MOTION


       PLEASE TAKE NOTICE that on Monday March 28, 2016 at 9:00 AM, Defendants FCA

US LLC and FCA Realty LLC, by their counsel, shall appear before the Honorable Virginia M.

Kendall in Courtroom 2319 of the Northern District of Illinois, Eastern Division, United States

Courthouse, located at 219 South Dearborn Street, Chicago, Illinois, 60604, to present

Defendants’ Uncontested Motion for Leave to File a Brief in Excess of Fifteen Pages.



March 10, 2016                                     Respectfully submitted,


                                                   /s/ Owen H. Smith

                                                   Of Counsel:
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                                              2
    Case: 1:16-cv-00403 Document #: 26 Filed: 03/10/16 Page 3 of 3 PageID #:146



                               CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be served upon

counsel for Plaintiffs electronically via the CM/ECF system on March 10, 2016.



                                           /s/ Owen H. Smith
